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_ UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA .

UNITED STATES OF AMERICA ~=—:_~—CR. NO. 3:23-CR- Rb
fe ° - Yv:. .
(Judge Marion)
RALPH PARRY -
(electronically filed) _
Defendant.
. FILED .
INFORMATION SCRANTON |
oo MAY 22. 2023
THE UNITED STATES ATTORNEY CHARGES: pep QC -
DEPUTY CLERK
COUNT 1
18 U.S.C. §371

. (Conspiracy to Commit Theft of Major Artwork, Concealment and
Disposal of Major Artwork, and Interstate Transportation of Stolen
Property) :
I. Introduction
At all times material to the Information:
1. The Defendant is a resident of the Commonwealth of
Pennsylvania.

2. A “museum” as defined in Title 18, United States Code,
Section 668, is an organized and permanent institution, the activities of »
which affect interstate and foreign commerce, that is (a) situated in the
United States; (b) is established for.an essentially educational and

aesthetic purpose: (8) has a professional staff, and: (4) owns, utilizes, and

cares for tangible items that are exhibited to the public on a regular
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schedule.

3. An “object of cultural heritage,” as defined in Title 18, United
States Code, Section 668, is an object that is either over 100 years old and
worth in excess of $5,000 or that is less than 100 years old and worth at ©
least $100,000.

4, The following institution is situated in the United States, has
been established for essentially educational or aesthetic purposes, has a
professional staff, owns, utilizes, or cares for tangible items that are
exhibited to the public on a regular schedule, and is a “museum” as
defined in Title 18, United States, Code, Section 668:

a) The Hillwood Estate, Museum, and Gardens located in

Washington, DC.

5. From in or about August of 1999 and continuing through in or
about April of 2019, in the Middle District of Pennsylvania, the District of
Columbia, and elsewhere, the Defendant,

RALPH PARRY,
did knowingly, intentionally, and unlawfully combine, conspire,
confederate, and agree with others, to commit an offense against the
United States, that is: to steal from the care, custody, and control of

various museums certain objects of cultural heritage; knowing that
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certain objects of cultural heritage had been stolen or obtained by fraud, if
in fact the object had been stolen or obtained by fraud from the care,
. custody, or control of a museum, received, concealed, exhibited, or
disposed of the objects, and: transported in interstate or foreign commerce
goods, wares, merchandise, securities or money, of the value of $5,000 or
more, knowing the same to have been stolen, converted, or taken by
fraud, in violation of Title 18, United States Code, Section 668(b)(1), Title
18, United States Code, Section 668(b)(2), and Title 13, United States
Code, Section 2314.

II. Manner and. Means and Purpose of the Conspiracy

: 6. During. the aforementioned period of the time, it was part of —
the conspiracy for the conspirators to conduct research in order to locate
collections which contained valuable pieces of artwork, antiques, sports
| memorabilia, and other items, many of which constituted objects of
cultural heritage.

7.  Itwas part of the conspiracy that the conspirators made
several trips to various institutions, many of which constituted museums,
where the above-described objects were displayed, for the purpose of
gaining knowledge of security measures, access points, exit points, and

_ the physical displays of the above-described objects. The conspirators
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recorded these trips for the purpose of later reviewing the above-described
security measures prior to the theft of the objects of cultural heritage.

8. It was part of the conspiracy that the conspirators visited the
museums and other repositories, broke into the museums and other
repositories, smashed or destroyed the protective display cases, and stole
and removed objects of cultural heritage.

9. It was part of the conspiracy that the conspirators would meet
at various pre-arranged locations to itemize, distribute, and break-down
the objects of cultural heritage between the conspirators. The
conspirators utilized three locations in particular, the residences of two —
members of the conspiracy, and a bar owned and operated by a third.
member of the conspiracy, all located in Lackawanna County,
Pennsylvania, within the Middle District of Pennsylvania.

10. It was part of the conspiracy that the conspirators would strip
the objects of cultural heritage of the gemstones and other valuable
attachments prior to melting the objects down into easily transportable.
bars, disks, and small pieces of the valuable metals.

11. It was part of the conspiracy that the conspirators would

transport the above-described gemstones and valuable metals to

individuals both known and unknown in the United States, located within
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New York.City, in the Southern District of New York, to sell the objects a
for cash.

12. It was part of the conspiracy that the conspirators would sell |
objects of cultural heritage which could not be broken down, such as
antique firearms and paintings, to each other and to various individuals,
both known and unknown to the United States, for cash.

13. , It was part of the conspiracy that the conspirators would
, transport the above-described antique firearms and paintings to other
residences belonging to the conspirators in order to conceal the objects
from law enforcement investigators.

III. Overt Acts

14. In furtherance of the conspiracy and in order to effect the
objects thereof, one or more of the conspirators committed and caused to
- be committed the following overt acts, in the Middle District of
Pennsylvania, and elsewhere:

a) Prior to 2018, Ralph PARRY agreed with two other
conspirators to drive a rental vehicle to the Hillwood Bstate,
Museum, and Gardens in Washington, DC, for the purpose of
breaking into the Hillwood Estate, Museum, and Gardens and

_ stealing and removing objects of cultural heritage displayed
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therein.

b) Prior to 2018, Ralph PARRY drove the two conspirators
described above in subparagraph (a) to Washington, DC, in a
rental vehicle in order to break into the Hillwood listate,
Museum, and Gardens located in Washington, DC and steal
and remove objects of cultural heritage displayed therein.

c) Prior to 2018, Ralph PARRY drove the two conspirators _
described above in subparagraph (b) from Washington, DC, to

the Middle District of Pennsylvania in a rental vehicle, after
the planned break in and theft of the Hillwood Estate,

Museum, and Gardens was aborted.
All in violation of Title 18; United States Code, Section 371.

GERARD M. KARAM

United States Attorney
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J . BUCHANAN

Assistant United States Attorney
Date: S | 2! 23

